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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



UNITED STATES                               :
                                            :
v.                                          :              No. 11cr1 (MRK)
                                            :
JOSEPH REYES, RICHARD DANIELS,              :
and ALEXIS RAMOS                            :


                                   RULING AND ORDER

       During the March 27, 2012 pretrial conference, Defendants Joseph Reyes, Richard

Daniels, and Alexis Ramos objected to the introduction of evidence tending to show that they

were members of a gang—specifically, members of the Bloods—as irrelevant and unduly

prejudicial. Defendants Richard Daniels and Alexis Ramos have since filed Motions in Limine to

Preclude Testimony of Gang Affiliation [docs. # 423, 424], and Defendant Joseph Reyes filed a

motion adopting and incorporating by reference Mr. Daniels's arguments, see Mot. in Limine

[doc. # 432]. After weighing the arguments, the Court denies all three motions.

       First, the Court concludes that the disputed evidence is relevant under Rule 401 of the

Federal Rules of Evidence. The Government intends to use evidence of gang membership to both

demonstrate the existence of a joint venture or conspiracy and explain the relationship between

Defendants and several cooperating witnesses. See United States v. Diaz, 176 F.3d 52, 79 (2d

Cir. 1999) (finding that the admission of evidence regarding gang membership could be relevant

for the purpose of establishing a conspiracy because such evidence may "help explain how the

illegal relationship between participants in the crime developed, or to explain the mutual trust

that existed between coconspirators" (quotation marks omitted)); see also id. at 95 (finding that

admission of evidence regarding contested gang membership relevant to establishing defendant's
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motive). Evidence of Defendants' possession of guns, the coded language used by gang

members, and other acts taken in furtherance of the conspiracy—including the alleged fact that

only gang members or their close associates were allowed to sell drugs at the Johnson property—

are also all relevant in establishing the existence of a conspiracy. See, e.g., id. at 79; United

States v. Muniz, 60 F.3d 65, 71 (2d Cir. 1995) ("[T]here are innumerable precedents of this court

approving the admission of guns in narcotics cases as tools of the trade."); United States v.

Wilson, 481 F.3d 475, 482 (7th Cir. 2007) (finding that evidence of an ordered beating was not a

prior bad act, but rather part of a conspiracy, as it demonstrated the defendant's leadership role

and the gang's enforcement policy). Having found the contested evidence relevant, the Court

turns to evaluating whether its relevance is outweighed by the danger of unfair prejudice.

        As courts regularly recognize, demonstrating the existence of prejudice alone is not

sufficient to exclude relevant and otherwise admissible evidence, as all evidence that weakens a

party's claim results in some prejudice. See Black's Law Dictionary 1299 (Bryan A. Garner et al.

eds., 9th ed. 2004) (defining "prejudice" as "[d]amage or detriment to one's legal rights or

claims."). The question under Rule 403 of the Federal Rules of Evidence is whether the prejudice

would be unfair—that is, whether the evidence, if introduced, would have an "adverse effect

beyond tending to prove the fact or issue that justified its admission into evidence." United States

v. Gelzer, 50 F.3d 1133, 1139 (2d Cir. 1995) (quotation marks and alteration omitted); see also

Old Chief v. United States, 519 U.S. 172, 180 (1997) (explaining that evidence would cause

"unfair prejudice" if it would have "an undue tendency to suggest decision on an improper

basis." (citation omitted)).

        "Evidence that a defendant is a member of a gang can be highly prejudicial . . . ." United

States v. Nelson, 103 F. Supp. 2d 512, 513 (N.D.N.Y. 1999). "[T]he Seventh Circuit has set forth
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a clear explanation of the principles at issue in judging admissibility, stating that evidence of

gang affiliation should tend to prove an element of the charged offense, if it is to have general

probative value that outweighs its prejudice." Id. at 514. Alleged membership in the Bloods, "a

notorious nationwide street gang," is potentially even more prejudicial than general gang

membership. United States v. Price, 2009 WL 973370, at *2 (E.D.N.Y. Apr. 10, 2009) as

clarified, 2009 WL 1010483 (E.D.N.Y. Apr. 14, 2009). "This evidence weighs heavily hwere, as

here, Defendant's purported membership in the Bloods is not an element of the charges against

him." Id.

       After weighing the evidence, the Court finds that the relevance of evidence

demonstrating that the defendants were members of a gang to demonstrating the existence of a

joint venture or conspiracy and explaining the relationship between the defendants and

cooperating witnesses outweighs that evidence's potential for unfair prejudice, primarily because

it tends to prove an element of the charged offense. See Nelson, 103 F. Supp. 2d at 513.

       However, whether that the gang was the Bloods—a well-known street gang with

numerous negative associations in popular culture—is not strongly relevant to the Government's

case and is therefore unfairly prejudicial. See Price, 2009 WL 973370, at *2. Accordingly, the

Government may introduce evidence of Defendants' gang membership, but the Government may

not introduce evidence that the gang was the Bloods. The Court will reconsider this decision if

the Government wishes to introduce specific pieces of evidence, such as photographs or recorded

conversations, which are inextricably linked to the Bloods.

       After careful consideration, the Court concludes that while the evidence of gang

membership may be prejudicial to Defendants' arguments, the prejudice is not unfair given its

relevance. Accordingly, the Court finds that gang-related evidence is admissible under Rules 401
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and 403. Mr. Ramos's Motion in Limine [doc. # 423], Mr. Daniels's Motion in Limine [doc.

# 424], and Mr. Reyes's Motion in Limine [doc. # 432] are therefore DENIED. However, absent

further evidence that the gang was the Bloods rather than a non-specific gang is vital to the

Government's introduction of specific pieces of evidence, the Government is ordered not to

introduce evidence regarding the name of the gang and to instruct witnesses not to do so in their

testimony. The Court also requests that Defendants submit a draft cautionary instruction

regarding gang membership to be included in the Court's jury instructions.




                                                    IT IS SO ORDERED.



                                            /s/     Mark R. Kravitz
                                                    United States District Judge



Dated at New Haven, Connecticut: May 1, 2012.
